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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.: 15-CV-24606-WILLIAMS/SIMONTON

  ILIANA AMPARO GARCIA, and all others
  similarly situated under 29 U.S.C. 216(b),

           Plaintiff,
  vs.

  HAIR DIMENSIONS OF MIAMI
  CORPORATION,
  CARLOS VELARDE,
  MAXIMA JOBITA VELARDE,

           Defendants.
                                                  /

        DEFENDANTS’ AGREED MOTION FOR APPROVAL OF SETTLEMENT
               AGREEMENT AND DISMISSAL WITH PREJUDICE

           Defendants Hair Dimensions of Miami Corporation, Carlos Velarde, and Maxima Jobita

  Velarde (“Defendants”) move for an Order approving the signed Settlement Agreement, attached

  hereto as Exhibit “1” and dismissing this action with prejudice. Counsel for Defendants has

  conferred with Plaintiff, who agrees to the relief requested herein.

                                    MEMORANDUM OF LAW

           Defendants request approval of the Settlement Agreement (Exhibit 1 hereto) to ensure its

  enforceability, pursuant to Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir.

  1982).    Defendants also seek dismissal of this case with prejudice. The parties agree that the

  attached Settlement Agreement is a fair and reasonable resolution of a bona fide dispute over FLSA

  provisions. For the convenience of the Court, a proposed order is attached hereto and concurrently

  emailed to the Court in a Word format.




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         WHEREFORE, the Defendants with the agreement of Plaintiff request an Order (1)

  approving the Settlement Agreement (Exhibit 1 hereto); and (2) dismissing this case with

  prejudice.

                       CERTIFICATE OF GOOD FAITH CONFERENCE

         Pursuant to Local Rule 7.1(a)(3)(A), I hereby certify that counsel for the movant has

  conferred with all parties or non-parties who may be affected by the relief sought in this motion in

  a good faith effort to resolve the issues, and Plaintiff agrees to the relief requested in this motion.

                                         Respectfully submitted,

                                         Mavrick Law Firm
                                         Attorneys for Defendant
                                         Hair Dimensions of Miami Corporation,
                                         Carlos Velarde, and
                                         Maxima Jobita Velarde
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                                         BY: s/Peter T. Mavrick
                                         Peter T. Mavrick
                                         Florida Bar No.: 0083739
                                         Victor M. Velarde
                                         Florida Bar No.: 0105620


                                    CERTIFICATE OF SERVICE

  I HEREBY CERTIFY that a true copy of the foregoing was served on March 9, 2016 by U.S. Mail
  on Plaintiff Iliana Amparo Garcia, 12991 S.W. 135 Terrace, Miami, Florida 33186.

                                         BY: s/Peter T. Mavrick
                                         Peter T. Mavrick
                                         Florida Bar No.: 0083739




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